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EXHIBIT "B"

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Employees (2009} Jan 1-2 Jan5-9 | Jan 12-16 Jan 19-23 | Jan 26-30 Feb 2-6 | Feb9-13
Socorro Aguilar X x x x X Xx x
Joseph Aken x x
Janna Banks x x
Kimberly Beasley x x
x x
x x

Sonal Bowness
Amanda Brown
Margaret Breckwoldt
Eric Breeding x x x x xX x xX
Caroline Clark xX x x X x xX x
Mary Collins -
Mary Ann Collins x xX X x x x x
Rachel Davison °
Erin Dean i i
Johnnie Denten i
Angela Eagle
Lori Friedman
Brandi Fischer
Mary Geil

fesse Gevirtz
Dawn Glasgow
Donald Goertz
Bonna Goertz i
Megan Haley _ _
|KateHearne fs —
Jacqueline Howard

Lynn Hunt
Kelly Jarrell
Judy Johnson
Rebecca Kaiser
Erin Larson
Gwendolyn Logan
Thomas Logan
Natalie London
Amy Mahnken
Leslie Marble
Veronique Mareen |X
Melanie Matkin ho. |
Cheryl McGee x
Amber Miller x
Gilberto Miranda
Valerie Monda
Lois O'Brien
Callie Osborne
Jerry Pippins
Nicholas Pippins
Lindsey Porter
Erik Rivas-Rivas
[Donna Romine
Margarita Ruiz
Francoise Sansoni
Jennifer Schiller
Nancy Scott

William Sneed

John Snyder

Mary Soljorio

Sharon Suggs
Kathryn Swope
Amanda Weeks x X x x x xX
Kjersti Wheeler x Xx Xx Xx x — x

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TOTALEMPLOYEES | 48 49 a9 4g 49 49 a9

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Employees (2009) Feb 16-20 Feb 23-27 | Mar2-6 Mar 9-13 Mar 16-20
Secorro Aguilar x x sk

Joseph Aken
Janna Banks
Kimberly Beasley
Sonal Bowness
Amanda Brown

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Margaret Breckwoldt |
Eric Breeding X xX x i
Caroline Clark X x x x x x x
Mary Collins
Mary Ann Collins x x x x xX x : x

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Rachel Davison

Erin Dean
Johnnie Denton

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Angela Eagle
Lori Friedman
Brandi Fischer
Mary Geil
Jesse Gevirtz
Dawn Glasgow

Donald Goertz
Donna Goertz
Megan Haley
Kate Hearne
Jacqueline Howard
Lynn Hunt
Kelly Jarrell
Judy Johnson
Rebecea Kaiser
Erin Larson x
Gwendolyn Logan X
Thomas Logan Xx
Natalie London x
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Amy Maihnken
Leslie Marble
Veronique Mareen
Melanie Matkin
Cheryl McGee
Amber Miller
Gilberto Miranda
Valerie Monda
Lois O'Brien
Callie Osborne
Jerry Pippins

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Nicholas Pippins
Lindsey Porter

Erik Rivas-Rivas
Bonna Romine
Margarita Ruiz
Francoise Sansoni
Jennifer Schiller
Nancy Scott
Wiliam Sneed
John Snyder

Mary Solorio.
Sharon Suggs
Kathryn Swope

Amanda Weeks

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TOTAL EMPLOYEES 49 49 49 49 49 49 49

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Employees (2009) Apr 6-10 Apr 13-17 Apr 2-24 Apr27-May1; May 4-8 May 11-15 May 18-22
Socorro Aguilar x x x x x x xX
Joseph Aken x x x : x x x x
fanna Banks x x x x x x X
Kimberly Beasley X X x x x x x
Sonal Bowness x x x x x x x
Amanda Brown xX x x x x xX x
Margaret Breckwoldt

Eric Breeding x x x x x x XxX
Caroline Clark x x x x x x |X
Mary Collins i : —

Mary Ann Collins x i x x x x | x x
Rachel Davison

Erin Dean

Johnnie Denton x x x xX xX X x
Angela Eagle x xX x x xX x xX

Lori Friedman x x X X X x x
Brandi Fischer x x x x x Xx xX
Mary Geil x x x i Xx X x _X
Jesse Gevirtz X x xX x Xx xX x
Dawn Glasgow x x xX x xk x xX
Donald Goertz x x x _K x Xo
Donna Goertz x KX x xX - xX X x .
Megan Haley — — :

Kate Hearne x xX x xX x Xx x
Jacqueline Howard xX xX x x _ x x X
Lynn Hunt X x x xX x x xX
Kelly Jarrell x X x x x x x
Judy Johnson

Rebecca Kaiser

Erin Larson x X X X x X xX
Gwendolyn Logan X X x x x x X
Thomas Logan Xx X x X x xX Xx
Natalie London x X x x xX xX xX
Amy Mahnken X X x xX x X x
Leslie Marble x X x x x x x
Veronique Mareen Xx |. x x x x xX X
Melanie Matkin

Cheryl McGee X x x X x x X
Amber Miller X Xx x x x x x
Gilberto Miranda x x x x x x x i
Valerie Monda xX x x x x x x

Lois O'Brien x x x x . x x x
Callie Osborne

Jerry Pippins x x x Xx xX X i x
Nicholas Pippins x x x xX x x i xX
Lindsey Porter xX x x Xx xX x x

Erik Rivas-Rivas x x x x x x x
Donna Romine x x _Xx x i x x x
Margarita Ruiz xX x x x C x x x
Francoise Sansoni KK KK x x x
Jennifer Schiller xX __ Xx x x X Xx x
Nancy Scott x Xx x x x x x
William Sneed xX X x Xx x x x
John Snyder_ Xx x x x x X x _
Mary Solorto Xx Xx x x xX x x
Sharon Suggs xX x x x x x x
Kathryn Swope

Amanda Weeks x x X x X X x
Kjersti Wheeler x x x x xX x x
TOTAL EMPLOYEES 49 49 49 49 49 49 49

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Employees (2009} __ May 25-29 | Juna-5 =) Jun 812 Jun 15-19 | Jun 22-26 Jun 29-Jul3 > Jul 6-10
PosephAken |
Janna Banks

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x
Kimberly Beasley x
x
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Sonal Bowness
Amanda Brown

| Margaret Breckwoldt
Eric Breeding x x
Caroline Clark xX xX x x xX x x
Mary Collins
Mary Ann Collins x xX
Rachel Davison !
Erin Dean !
Johnnie Denton
Angeta Eagle

Lori Friedman
Brandi Fischer
Mary Geil

Jesse Gevirtz

Dawn Glasgow
Donald Goertz
Donna Goertz
Megan Haley

Kate Hearne
Jacqueline Howard
Lynn Hunt

Kally Jarrell

Judy Johnson
Rebecca Kaiser
Erin Larson _.
Gwendolyn Logan
Thomas Logan
Natalie London
Amy Mahnken
Leslie Marble
Veronique Mareen
Metanie Matkin
Cheryl McGee
Amber Miller
Gilberto Miranda _
Valerie Monda
Lois O'Brien
Callie Osborne : :
Jerry Pippins i i
Nicholas Pippins
Lindsey Porter
Erik Rivas-Rivas
Donna Romine
Margarita Ruiz
Francoise Sansoni
Jennifer Schiller
Nancy Scott
William Sneed
John Snyder
Mary Solorio
Sharon Suggs

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Kjersti Wheeler

TOTAL EMPLOYEES 49 47 41 41 41 41 41

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Employees (2009) Jul 13-17) | jul 20-24 Jul 27-31 Aug 3-7 Aug 10-14 Aug 17-21 Aug 24-28
Socorro Aguilar : — — xX tO So x x
Joseph Aken x x x | x. x x x
Janna Banks xX x x x x x xX
Kimberly Beasley xX xX x x xX x x
Sonal Bowness x x X xX Xx X x
Amanda Brown xX x x x xX X x
Margaret Breckwoldt x x x X
Eric Breeding

Caroline Clark xX i xX x x x x xX
Mary Collins :

Mary Ann Collins . x x x x
Rachel Davison : x x

Erin Dean i

Johnnie Denton _ “x x x i x x X X
Angela Eagle X x x x x x x
Lori Friedman x x xX X X x x
Brandi Fischer Xx x x X x x x
Mary Geil x x x x xX x x
Jesse Gevirtz X x x X X x x
Dawn Glasgow x x x x x x x
Donald Goertz x x x x x X x
Donna Goertz x x x x i x x : x
Megan Haley x i xX X X _
Kate Hearne x x x xX
Jacqueline Howard

tynn Hunt a x x Xx x
Kelly Jarrell | x x x x x x xX
Judy Johnson _ x x x xX
Rebecca Kaiser xX X x x
Erin Larson X x X xX xX X x
Gwendolyn Logan X x X xX x x Xx
Thomas Logan x x x x x X x
Natalie London X x X X xX x x
Amy Mahnken x xX x x
Leslie Marble x X x x X _ x x
Veronique Mareen X xX xX x x
Melanie Matkin . x X __X x
Cheryt McGee x x xX x x xX fk
Amber Miller x Xx xX x x X x
Gilberto Miranda Xx x 2K

Valerie Monda x x vi x x x x x
Lois O'Brien X x X X x x xX
Callie Osborne X x x x
Jerry Pippins x xX xX X x xX x
Nicholas Pippins x X xX

Lindsey Porter x x x _.

Erik Rivas-Rivas x x x x x x ..
Donna Romine x x x x X xX

Margarita Ruiz x x t x x xX X

Francoise Sansoni x x x

Jennifer Schiller X x xX

Nancy Scott x x x coe
William Sneed x x x x Mc enudoeoane x x
John Snyder Ree ese wo x x x
Mary Solorio x x : x x x x x
Sharon Suggs x X x Xx Xx x xX
Kathryn Swope x x xX x
Amanda Weeks _ Xx x X x x x Xx
Kjersti Wheeler _..

TOTAL EMPLOYEES 41 I 41 41 48 48 : 48 43

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Employees (2009)

Aug 31-Sep 4

Sep 7-11

Sep 14-18

Sep 21-25

Sep 28-Oct 2

Oct 5-9

Oct 12-16

Socorro Aguilar

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x

Joseph Aken

Janna Banks

Kimberly Beasley

Sonal Bowness

Amanda Brown

Margaret Breckwoldt

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Eric Breeding

Caroline Clark

Mary Collins

Mary Ann Collins

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Rachel Davison

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Erin Dean

Johnnie Denton

Angela Eagle

Lori Friedman

Brandi Fischer

Mary Geil

Jesse Gevirtz

Dawn Glasgow

Donald Goertz

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Donna Goertz

Megan Haley

Kate Hearne

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Jacqueline Howard

Lynn Hunt

Kelly Jarrell

Judy Johnson

Rebecca Kaiser

Erin Larson

Gwendolyn Logan

Thomas Logan

Natalie London

Amy Mahnken

Leslie Marble

Veronique Mareen

Melanie Matkin

Cheryl McGee

Amber Miller

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Gilberto Miranda

Valerie Monda

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Lindsey Porter

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Margarita Ruiz —

Francoise Sansoni

Jennifer Schiller

Nancy Scott

William Sneed

John Snyder

Mary Solorio

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TOTAL EMPLOYEES

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Employees (2009)

Oct 19-23

Oct 26-30

Nov 9-13

Nov 16-20

Nov 23-27

Nov 30-Dec 4

Socorro Aguilar

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Joseph Aken

Janna Banks

Kimberly Beasley

Sonal Bowness

Amanda Brown

Margaret Breckwoldt

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Eric Breeding

Rachel Davison

Caroline Clark |

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Erin Dean

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Johnnie Benton

Angela Eagle

Lori Friedman

Brandi Fischer

Mary Geil

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Jesse Gevirtz

Dawn Glasgow

Donald Goertz ©

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Jacqueline Howard

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Lynn Hunt

Kelly Jarrell

Judy Johnson

Rebecca Kaiser

Erin Larson

Gwendolyn Logan

Thomas Logan

Natalie London

Amy Mahnken |

Leslie Marble

Veronique Mareen
Melanie Matkin
CherylMcGee
Amber Miller

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Gilberto Miranda

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Lois O'Brien

Callie Osborne

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William Sneed

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Mary Solorio

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iKjersti Wheeler

TOTAL EMPLOYEES

48

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439

49

49

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Case 1:12-cv-00007-SS Document 28-7

Employees (2009)

Dec 7-11

Dec 14-18

Dec 21-25 Dec 2eJan 1

Socorro Aguilar

x

x

Joseph Aken

Janna Banks

Kimberly Beasley

Sonal Bowness

Amanda Brown

Margaret Breckwoldt

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Eric Breeding

Caroline Clark

Mary Collins

Mary Ann Collins

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Rachel Davison

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Erin Dean

Johnnie Benton

Angela Eagle

Lori Friedman

Brandi Fischer

Mary Geil

Jesse Gevirtz

Dawn Glasgow

Donald Goertz

Donna Goertz

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Jacqueline Howard

Lynn Hunt

Kelly Jarrell

Judy Johnson

Rebecca Kaiser

Erin Larson

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Gwendolyn Logan

Thomas Logan

Natalie London

Amy Mahnken

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Leslie Marble

Veronique Mareen

Melanie Matkin

Cheryl McGee

Amber Miller

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Gilberto Miranda

Valerie Monda

Lois O'Brien

Calfie Osborne

Jerry Pippins

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Nicholas Pippins

Lindsey Porter

Erik Rivas-Rivas

Denna Romine

Margarita Ruiz

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Francoise Sansoni

Jennifer Schiller

Nancy Scott

William Sneed

John Snyder

Mary Solorio

Sharon Suggs -

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Kjersti Wheeler

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JOTAL EMPLOYEES _

48

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Employees (2010) dan 4-8 Jan 11-15 Jan 18-22. | Jan25-29 | Feb1-5 Feb 8-12 Feb 15-19 |
Socorro Aguilar x x x x x x x
Joseph Aken x x x x x xX X :
Janna Banks x x x x x x x
Kimberly Beasley x xX xX x x xX X
Sonal Bowness xX X x x Xx _X x
Margaret Breckwoldt x xX xX x x XK
Amanda Brown x x x x xX X- x
Naomi Cabellero _ ee _
Caroline Clark x x x X x x x
Mary Collins
Mary Ann Collins x x x X X xX x
Rachel Davison X x x X xX x x
Erin Dean x xX xX X X X x
Johnnie Denton X xX x X x x x
Angela Eagle x x x x xX xX x
Lori Friedman x X x xX x x x
Brandi Fischer x X xX x x x X
Mary Geil x x x x x x x
Jesse Gevirtz X x x xX x x x
Dawn Glasgow X x x xX X cL x x
Donald Goertz : x x x xX x __ x
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Rebecca Kaiser X x x x x x
Janice Kearley
Erin Larson X X x x x x x
Natalie London Xx x x X x x x
Gwendolyn Logan x x X x x ! x x
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Lois O'Brien x x xX x Xx x x
Callie Osborne x x x x x x x
Elizabeth Padron
Jerry Pippins X x x xX x x x
Erik Rivas-Rivas x x xX x x x x
Donna Romine X x xX x x x X
Margarita Ruiz X X x : xX x x x
William Sneed x Xx KL x x x x
John Snyder xX x x x x x xX
[Mary Solorio x Xx x x x we i
Jennifer Suarez
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Amanda Weeks . x x x x x xX x
TOTAL EMPLOYEES 48 48 48 43 48 i 48 47

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Employees (2010} » Feb 22-26 Mar 1-5 Mar 8-22) | Mar 15-19 Mar 22-26 | Maz 29-Apr 2 : Apr5-9

Socorro Aguilar : X x x
Joseph Aken :
Janna Banks

Kimberly Beasley

Margaret Breckwoldt
Amanda Brown
Naomi Cabellero
Caroline Clark

Mary Collins

Mary Ann Collins
Rachel Davison

Erin Dean

Johnnie Denton

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Angela Eagle

Lori Friedman

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Brandi Fischer

Mary Geil

Jesse Gevirtz

Dawn Glasgow
Donald Goertz
Donna Goertz
Caroline Golden
Megan Hailey X Xx Xx x x x x
Alexis Harper
Kate Hearne x x Xx x x x X
Lynn Hunt x X x x x x xX
Jesse Jahnke .
Kelly Jarrell X x x xX x x x
Judy Johnson
Rebecca Kaiser X x
Janice Kearley

Erin Larson

Natalie London
Gwendolyn Logan
Thomas Logan
Amy Mahnken
Leslie Marble
Veronique Mareen
Melania Matkin
Cheryl McGee
Amber Miller
Valerie Monda
Daniel Murphy
Lois O'Brien

Callie Osborne
Elizabeth Padron
Jerry Pippins

Erik Rivas-Rivas
Donna Romine
Margarita Ruiz
William Sneed
John Snyder

Mary Solorio
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TOTAL EMPLOYEES | a7 a7 a7 a7 | a7 47 47

Case 1:12-cv-00007-SS Document 28-7 Filed 07/31/12 Page 12 of 17

Employees (2010) = Apri2-16 ; Apri19-23 | Apr26-30 , May3-7  — May 10-14 © May17-21 | May 24-28 |

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Joseph Aken i

Janna Banks

Kimberly Beasley

Margaret Breckwoldt

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Caroline Clark

Mary Collins

Mary Ann Collins

Rachel Davison

Erin Dean

Johnnie Denton

Angela Eagle

Lori Friedman

Brandi Fischer

Mary Geil

Jesse Gevirtz
Dawn Glasgow
Donald Goertz
Donna Goertz
Caroline Golden
Megan Haley x x x Xx xX x xX
Alexis Harper - __.
Kate Hearne KX of x x Xx x i x
Lynn Hunt X x x x x x x
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Rebecca Kaiser x x xX x xX x x
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Amber Miller
ValerieMonda
Daniel Murphy |
Lois O'Brien
Callie Osborne |
Elizabeth Padron
Jerry Pippins

Erik Rivas-Rivas
Donna Romine
Margarita Ruiz
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TFOTAL EMPLOYEES

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Employees (2010} May 31-jun 4 Jun 7-11 Jun 14-18 Jun 21-25 Jun 28-Jui 2 Jui 5-9 Jul 12-16
Socorro Aguilar x
Joseph Aken
Janna Banks

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Margaret Breckwoldt

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Naomi Cabellero

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Caroline Clark
Mary Collins —
Mary Ann Collins
Rachel Davison
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Johnnie Denton
Angela Eagle

Lori Friedman
Brandi Fischer
Mary Geil

Jesse Gevirtz Le
[Dawn Glasgow
Donald Goertz

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Donna Goertz

Caroline Golden . . :
Megan Haley xX i i
Alexis Harper i
Kate Hearne x i
Lynn Hunt xX
Jesse Jahnke _
Kelly Jarrell x X x x xX x x
Judy Johnson
Rebecca Kaiser x
Janice Kearley

Erin Larson
Natali¢é London
Gwendolyn Logan
Thomas Logan
Amy Mahnken
Leslie Marble
Veronique Mareen
Metanie Matkin
Cheryl McGee
Amber Miller
Valerie Monda
Daniel Murphy
Lois O'Brien

Callie Osborne
Elizabeth Padron
Jerry Pippins

Erik Rivas-Rivas
Donna Romine
Margarita Ruiz
William Sneed
John Snyder

Mary Solorio
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Sharon Suggs x X
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TOTAL EMPLOYEES 47 38 38 38 33 38 38

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Employees (2010) =, Sui 19-23 Jul26-30 | 3 Aug2-6 Aug 9-33 Aug 16-20 Aug 23-27 | Aug 30-Sep 3
Socorro Aguilar x x x x x
Joseph Aken x x x > x : x Xx

Janna Banks x x x x x x xX
Kimberly Beasley xX x x x x x x

Sonal Bowness x X xX x x x x
Margaret Breckwoldt

Amanda Brown x x x X x xX x
Naomi Cabellero x x x x _

Caroline Clark xX __éX - _
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Mary Ann Collins x XX X

Rachel Davison x OK

Brin Bean aan

Johnnie Denton : X x x x x x x
Angela Eagle x Xx x x xX x x

Lori Friedman x x x xX x x x
Brandi Fischer x x x x X x x

Mary Geil x x x xX x X x

Jesse Gevirtz x Xx x x x xX x

Dawn Glasgow x Xx x Xx X X x
Donald Goertz x x x x xX ___% x
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Caroline Golden Fo UX x xX x x
Megan Haley — x x xX - _& xX

Alexis Harper LQ x i x x

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Judy Johnson . x

Rebecca Kaiser

Janice Kearley X x x x xX

Erin Larson X x xX x x x xX
Natalie London x x X x xX xX x
Gwendolyn Logan x x X X X x X _
Thomas Logan Xx x Xx x x x xk
Amy Mahnken / i xX x xX x om

Leslie Marble x : x x x xX x ®
Veronique Mareen | x x xX x _X x x :
Melanie Matkin BK x xX x _X :
Cheryl McGee x x x x x x X
Amber Miller x X x i x X X x
Valerie Monda x X x x x Xx x
Daniel Murphy x

Lois O'Brien x x x x x x x

Callie Osborne xX x x x x xX x |
Elizabeth Padron X X X x x

Jerry Pippins x x x x x } CU Xx

Erik Rivas-Rivas x x x x X x x
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Margarita Ruiz x x __ Xx Xx x X x
William Sneed : x x x x x Xx x

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Mary Solorio xX x x x x KX
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Sharon Suggs x x xX x : x UK x
Kathryn Swope x x

Amanda Weeks __ __X x x xX x x x
TOTAL EMPLOYEES 38 38 46 46 48 48 49

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Page 15 of 17

Employees (2010)

Sep 13-17

Sep 20-24

Sep 27-Oct 1 |

Oct 4-8

Oct 11-15

Oct 18-22 —

Socorro Aguilar

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Joseph Aken

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Janna Banks

Kimberly Beasley

Sonal Bowness

Amanda Brown |

Margaret Breckwoldt

NaomiCabelero

Caroline Clark

Mary Collins

Mary Ann Coltins

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Rachel Davison

Erin Dean

Johnnie Denton

Angela Eagle

Lori Friedman

Brandi Fischer

Mary Geil

Jesse Gevirtz .
Dawn Glasgow
Donald Goertz

Donna Goertz

Caroline Golden

Megan Haley

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Alexis Harper

Kate Hearne

Lynn Hunt

Jesse Jahnke

Kelly Jarrell

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Judy Johnson

Rebecca Kaiser

Janice Kearley

Erin Larson

Natatie London —

Gwendolyn Logan

Thomas Logan

Amy Mahnken

Leslie Marble

Veronique Mareen

Metanie Matkin

Cheryl McGee

Amber Miller

Valerie Monda

Daniel Murphy

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Lois O'Brien

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William Sneed

John Snyder

Mary Solorio

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Kathryn Swope

Amanda Weeks

TOTAL EMPLOYEES

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Page 16 of 17

Socorro Aguilar

Employees (2010)

Oct 25-29

Nov 1-5

Nov 8-12

Nov 15-19

Nov 29-Dec 3 |

Dec 6-20

Dec 13-17

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Joseph Aken

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Janna Banks

Kimberly Beasiey

Sonal Bowness

Margaret Breckwoldt

Amanda Brown

Naomi Cabellero

Caroline Ciark

Mary Collins

Mary Ann Collins

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Rachel Davison __

Erin Dean

Johnnie Denton

Angela Eagle
Lori Friedman

Brandi Fischer

Mary Geil

Jesse Gevirtz

Dawn Glasgow

Donald Goertz

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Carotine Golden

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Janice Kearley

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Natalie London

Gwendolyn Logan

Thomas Logan

Amy Mahnken

Leslie Marble

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Melanie Matkin

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Donna Romine

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Kathryn Swope

Amanda Weeks

TOTAL EMPLOYEES

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48

Case 1:12-cv-00007-SS Document 28-7

Naomi Cabellero

Caroline Clark

Mary Collins

Mary Ann Collins

Employees (2010) Dee 20-24 Dec 27-31
Socorro Aguilar Xx x
Joseph Aken X cn
Janna Banks

Kimberly Beasley x x
Sonal Bowness Xx Ke
Margaret Breckwoidt _ ott
Amanda Brown : xX I

Rachel Davison

Erin Dean

Johnnie Denton

Angela Eagle

Lori Friedman

Brandi Fischer

Mary Geil

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Kate Hearne

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Judy Johnson

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William Sneed

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Mary Solorio

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Kathryn Swope

Amanda Weeks

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JTOTALEMPLOYEES

48

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